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                                                                              FILED                     D.C.
                            UM TED STATES DISTRIC T C OU RT
                            SOUTIIERN DISTRICT OF FLORIDA                          JtJ8 -3 2022
                                                                                    ANGELA e.NOBLE
                          CA SE NO .22-CV-14102-M 1DDLEBROO KS                     cLERK U.S.DlST:c'E
                                                                                   s.D.OFFLA.-MIAMI

        DONM .D J.TRU M P,

             PlaintiF,



        H ILLARY R .CLINTON ,eta1.,

              Defendants.


                M OTION TO RECONSIDER A JDGE M IDDLEBRO OK S'ORDER

              Non-party Jimmy Sm ith has iled a motion to m TERVEN E in this cause of

        action.W hile it is true that my m otion quotes language from FederalRule of Civil

        Procedure 24, itdoes state who Jimmy Sm ith is or why he has an interest in this

        litigation. Accordingly,itcannotbeisO RDERED ,ADJUDGED orSTRICKEN on

        those grounds. lfM r.Slnith did notstate who he is,he apologiesand doeswilldo so

        below.Additionally there isno IqbalorTwombly in regardsto aRule24 motion so any

        m ention of reciting a legal standard cannot be enough to stlike this m otion.

        Furthermore,the standard to strike apleading orotherpaperhasnotbeen met.Sm ith,a

        United States Citizen,clearly has articulated thathe may have a claim againstone or

        m ore of the litigants.In fact,he has a probable claim against the United States of

        America as we speak in n e United States DistrictCourtfor The DistrictofRhode

        Island.(21cv133)Also,hehasapending 12@ )46)motion.
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                 TH E M O TIO N TO STR IK E STA N DA R D H A S N O T BEEN M ET


          Jimm y Sm ith'sm otion isnott%repetitive,imm aterial,impertinentorscandalous''as

    describedin Rule 12(9.lnfactnoneoftheRule1249 criteriaarepresent.Judge
    M iddlebrookshasnotputforth acompelling reason why the entiredocum entshould be

    stricken orwhy thispro selitigantshouldnothave an opportunity to am end hismotion.A s

    such,thistoucheson theliberality with which apro sepleading shouldbeinterpreted.




           Generally,them oving party bearstheburden on am otion to strikeand to succeed the

    movantmustdem onstratethatno evidencein supportofallegationswould be admissible,

    thatallegationshaveno bearing on issuesin case,and thatto permitallegationsto stand

    wouldresultinprejudicetomovant.SeeBerkev.Presstek.Inc..188F.R.D.179(D.N.H.
    1998).ln additiontoconstnzingthepleadingsofaprosepartyliberally,anydoubtasto
    strikingofm atterin apleading should beresolved in favorofpleading.SeeHanley v.Volpe.

    305F.Supp.977,1969U.S.Dist.LEXIS 10875 (E.D.W is.1969).SeealsoM ccormick v.
    Wood.156F.Supp.483,1957U.S.Dist.LEXIS 2809(D.N.Y.1957);Wohlv.Blair& Co.,
    50F.R.D.89,Fed.Sec.L.Rep.(CCH)!92619,Fed.Sec.L.Rep.(CCH)!92619,1970U.S.
    Dist.LEXIS 12346(S.D.N.Y.1970).(inrulinguponmotiontostrike,courtviewspleading
    underattackmostfavorablytopleaden)

          AsotherCourtshavebeen,thisCourtshould bereluctantto strikeM r.Sm ith's

    pleading.SeeRosenblattv.UnitedAirLines.Inc.,21F.R.D.110,1957 U.S.Dist.LEXIS

    4440(D.N.Y 1957).tcourtsarereluctantto grantmotionstostrikeunlessclearly
    warranted.)SeealsoVelezv.Lisi.164F.R.D.165,1995U.S.Dist.LEXIS 19116(S.D.N.Y
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    1995).(M otionto strikeisanextraordinaryremedywhichwillnotbegrantedunlessitis
    clearthatallegationsinquestioncanhavenopossiblebearingonthesubjectmatterof
    litiéjéktitlrl-)
              Finally,ifm y complaintshavemerit,1should begranted leave to am end.Judge

    M iddlebrookshascomplained thatmy submission failsto comply andtheCourtdecided my

    entire<tpleading''should be stricken,lshould beableto replead itascaseshavesaid.See

    Hardinv.AmericanElec.Power-188F.R.D.509,1999U.S.Dist.LEXIS 15087(S.D.Ind.
    lgggl.tordinarily,properresponseinfaceofmotiontostrikepleadingisto strikeonly
    olendingpartsofit;however,ifcomplaintviolatesFRCP8(a)(2)and(e)(1)suchthatgreat
    dealofjudicialenergywouldhavetobedevotedtoeliminatingtmnecessarymatterand
    restructuringpleading,courtmay slikeentirepleadingwhilegrantingleavetoreplead.)

              SinceM r.Sm ith'sactionscontain no clearly imm atedal,impertinentorscandalous

    matterand clarifieswhatclaimsIhave therightto raiseorwillberaising,Judge

    M iddlebrook'ssua spontemotion should bedenied.SeeLam oureux v.AnazaoHealth Coro.,

    250F.R.D.100,2008U.S.Dist.LEXIS 32422 (D.Conn.2008).(com oration'sFed.R.Civ.
    P.12(9 motiontostrikeplaintiffs'amendedreply toitscounterclaim wasdeniedbecause
    am ended answerserved purposeofclarifying whatresponsesand dtfenseswerebeing

    asserted by plaintiflk,itdid notcontain any im material,impertinent,orscandalousm atters,

    and contrary tocom pany'sgeneralprotestations,additionalaffrm ativedefensesraised in

    am ended reply w ere directly responsiveto variousclaim sraised by com pany's counterclaim

    and didnotexpand scope oflitigation;company hadfailedto carry itsburden ofshowing

    how itwasprejudicedbyamendedpleading.)
                         JIJD G E M ID DLEBR O O K S H A S FA ILED TO P
                                                            - -       -ROVE CLEARLY
                       R ED IJN DA N T.IM M ATER IA L.IM PER TIN EN T A ND SCA ND A LO U S
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                                       M ATTER IN A PLEA DIN G


           Asan initialm atter,M r.Sm ith'snon-party motion isnotapleading and therefore

    carmotbeattackedinaRule1249 motion.SeeLoweryv.Hoffman.188F.R.D.651,1999
    U.S.Dist.LEM S 13251(M .D.Ala.1999).(termsofFRCP 12(9 makeclearthatonly
    materialincludedintçpleading''maybesubjectofmotiontostrike;thus,motions,briefs,
    memoranda,objectionsoram davitsmaynotbeattackedbymotiontostrike.)However,if
    theCourtrulesmy action wasapleading,lhavesubmittedm y argumentbelow.


    A ssum ing The Courtcan A ttack m y M otion


           BythemostliberaldefinitionofwordsreferredtoinRule 1249,x<redundant''
    m eansstatem entoffactswhich arewholly foreign to an issueintended tobedenied or

    needlessrepetition ofimmaterialaverments;ttim material''m eanshaving no essential

    orimportantrelationship to theavermentintended to bedenied,and statem entof

    llnnecessary particularsin connection w ith and asdescriptive ofw hatism aterial;

    :çimpertinent''m eansstatem entofm attersapplied tofactswhich do notbelongto

    m atterin question,and which isnotnecessary to mattersin question;and ç%scandalous''

    m eansunnecessary m atterorfactscrim inatory ofapartyreferred to in pleading.See

    Burkev.M estaM ach.Co..5F.R.D.134,10Lab.Cas.(CCH)!62970,5W age&
    HourCas.(BNA)843,1946U.S.Dist.LEXIS 1522 (D.Pa.1946).ThisCourthasnot
    m etitsburden in showingtheseby thepreponderance oftheevidence.


    M r.Sm ith's M otion is NotC learly R edundant


           n isisbecauseredlmdantmatterconsistsofallegationsthatconstitute
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    needlessrepetition ofotheravermentsorwhich arewholly foreign to issueto be

    denied.See Garcia v.H ilton H otels Internatitm al.Inc..97 F.Supp.5,1951 U .S.D ist.

    LEM S4235(D.P.R.1951);lnthissituationmyallegationsaresupplementalandare
    arguably compulsory.


    M r.Sm ith's M otion isNotClearly Scandalous


           M atterisdeem ed scandalouswhen itimpropedy castsderogatory lighton

    som eone,usually a party to an action.See M artin v.Hunt.28 F.R.D .35,5 Fed.R .

    Serv.2d(Callaghan)27,1961U.S.Dist.LEXIS 5282(D.M ass.1961);Gilbertv.Eli
    Lillv& Co..56F.R.D.116,16Fed.R.Serv.2d(Callaghan)1096,1972U.S.Dist.
    LEXIS 13680 (D.P.R.1972).Here,myallegationsdonotimproperly shedderogatory
    light.Ifaccusingsomeoneofan actisderogatory then wewould neverbeableto

    charge seriouscrim es.

           Furtherm ore,saying personsareconspiring isnotderogatory.SeeThom asv.

    PennSupplv& M etalCorp.,35F.R.D.17,55L.R.R.M .(BNA)2861,49Lab.Cas.
    (CCH)! 18924,1964U.S.Dist.LEXIS7480(D.Pa.1964).(complaintwhich
    characterizescertain om cials ofunion asçtfaction''isnotscandalousw ithin m eaning

    ofRule12(9 andthatportionofcomplaintwillnotbeorderedstruck.)Seealso
    Gateway Bottling.Inc.v.Dad'sRootbeerCo..53 F.R.D.585,1971U.S.Dist.LEXIS

    10795(D.Pa.1971).(withrespecttostriking scandalousmatter,whilefactsincase
    mightbeunpleasantforplaintif to have on record,andthey certainly contained

    chargesofreprehensible conduct,sam ewastrueofm any factsoflife which were

    entitledto bepleaded asrelevantto causeofaction ordefense,such forexam ple as

    factsconcem ing divorceforadulterywhich may bescandalousand annoying and
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    prejudicialtoaccusedparty,butplaintif ordefendantisentitledtopleadthem.)

    M r.Sm ith'sM otion is NotC learlv Im m aterialor Im pertinent


           M y allegationswere sufficientto requirea response and should notbe

    stricken.SeeM ottv.Flora.3F.R.D.232,1943U.S.Dist.LEXIS 1579(D.111.1943).
    (ifallegationssetforthincomplaintaresuftkienttorequirean answer,motionto
    strikeshouldbedenied.)Inordertosucceedonmotion tostrikesurplusmatterfrom
    answer,itmustbeshown thatallegationsbeing challenged are so tmrelated to

    plaintif'sclaim asto betmworthy ofany consideration asdefenseandthattheir

    presenceinpleadingthroughoutproceedingwillbeprejudicialtomovingparty.See
    M orellv.UnitedStates,185F.R.D.116,1999U.S.Dist.LEXIS 3695(D.P.R.1999).
    In thiscasesthe information Isoughtto supplementclearly relatetotheactionsof

    Defendantsand/orthePlaintiff.



              @   #    @                          @                  *


    H ave 21 D avstoA m end



           Thecrux ofn isCourt'sbeefisthatitcannotpossibly tmderstandthecom plaintand

    otherpartiesortheCourthavetorespondtoit.Assuch n isCourt'sobjectionsarebasicallyin
    the realm ofa m otion for a m ore definite statem ent.ln thatcase though,under federal1aw

    failm etohavestatedaclaim underRule8(a)(2)isnoimpediment.SeeDavisv.PiperAircraq
    Com..615F.2d 606,15Av.Cas.(CCH)! 17907,28Fed.R.Serv.2d (Callaghan)862,1980
    U.S.App.LEXIS 21704 (4th Cir.),cert.dismissed,448U.S.911.101S.Ct.25,65L.Ed.2d
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    1141,1980U.S.LEXIS 2486(1980).
           Additionally açtcomplaint''should notbedism issed forinsuftk iency ifthedefect

    consistsoffailuretoplead matterswhich m ightbe ftumished on motion foram oredesnite

    statem ent,butIshould berequired to am end my ttcomplainf'.SeeKeasbev & M attison Co.v.

    Rothensies.1F.R.D.626,29A.F.T.R.(P-H)645,1941-1U.S.TaxCas.(CCH)$ 9396,1941
    U.S.Dist.LEXIS 2008(E.D.Pa.1941).
             M R .SM ITH C LAIM S A N IN TER EST RELATING TO TH E T R AN SA CTIO N

                           TIIAT IS THE SUBJECT O F TH E A CTION

                  Asdescribed below,M r.Sm ith isavotingUnited StatesCitizen and the cnzx of

    thiscaseinvolvescollusion and an attem ptto tçsteal''theelection.Clearly thiswould defraud

    theUnited Statesvoting public.Additionally,anything thatunderm inesolzrdem ocracy clearly

    hasanefrectonthevotingpublic.Furthermore,Mr.Smithjustrecentlyturned35yearsoldand
    m ay nm forPresidentin the future.AsafuturePresidentialcandidate,1clearly have standing in

    thiscast asthiscaseinvolvesformerand/orfuture Presidentialcandidates.Here,the

    ittransaction''isaPresidentialelection.

           AsM r.Sm ith readsthecomplaint,heclearly hasan interestin Paragraphs1-5 as

    Paragraph 1statesissuesthatare subversiveto Dem ocracy.Indeed ifitistruethatio efendants

    m aliciously conspiredto weave afalsenarrativethattheirRepublican opponent,Donald J.

    Trumpwascolludingwithahostileforeign sovereigntf',Ihavebeenmisledandsohasthe
    Americanpeople.Asaconsumerofthemedia,paragraph2describesKlignitting)amedia
    frenzf'.Ifourtimewasindeedwasted,theAmericanpeopledeservearefundofthattime.
    Paragraph 3 talks abouttEm isleading evidence''clearly given to the Am erican people through

    m edia outlets.Paragraph 4 describesan attemptto tidiscreditDonald J.Tnzmp andhis
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    campaigrp'.Ason airtime islim ited,ifthe airwaveswere fullofunnecessary and untruthful

    politicalads,then thosewho putthem therearef'
                                                ullofairaswell.Paragraph 5talksabout

    alarm ing conductto clearlyprivately owned entitiesatthetime.Forinstance,lçtruly subversive

    m easures- hacking serversatTrump Tower,Trump'sprivate apartment,and,mostalarmingly,

    theW hiteHouse.''Itisnotknown iftheseactionswere doneonly when M r.Trtzmp was

    Presidentorw hen he w asPresidentelect.

           M r.Smith also hasan interestin Paragraphs6,7,and 9.Paragraph 6detailsthat

    çr efendantsseized on theopportunity to publicly m align Donald J.Trump by instigating a

    full-blownmediafrenzf'.Ifthisistnze,andatthispointwemustasstlmeitis,thisisno
    diFerentthan receiving spam butin avisualform withouttheability to filterit.Perhapstherest

    ofParagraph6needsaconnectiontobeshownbutitisclearthatççrepeatedly(feeding)
    disinformationtothemediaandshamelesslypromotting)theirfalsenarratives''would
    eventually aflkctthem entalhealth oftheAmerican people.

           Paragraph 7describesactionstaken by theFBlwhileourinnercitiesand suburbs

    deteriorated.lndeed,t<followingatwo-yearinvestigation,SpecialCounselM uellerwenton to

    exonerateDonald J.Trump andhiscampaign with histinding thattherewasno evidenceof

    collusion with Russia''.Now thatRussiam ay beplanning to initiateprobably thethird and final

    W orld W ar,theAmerican people deserveanswers.IftheFBlwasted theirtime on m eaningless

    and fruitlessinvestigations,thisalsoharmedtheAm ericanpeople.

           Paragraph 9 pointsto precisely why m y m otion should notbe stricken.W e m usttake

    Paragraph9ascompletelytrue.Indeed ifitistnzethat,çGttlhedeception,malice,andtreachery
    pep etratedby theDefendantshascaused signitk antharm totheAmerican people,andto the

    PlaintiF,Donald J.Trump,and they m ustbeheld accountablefortheirheinousacts''This
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    Courtcannotpossibly strikeM r.Sm ith'sm otion.



             M'
              R .SM ITH.AS A VO TING UM TED STATES CITIZEN.IS SO SITUATED

         TH AT D ISPO SIN G O F TH IS M ATTER A S A PM C TIA L M ATT ER IM PA IR S

       AND/OR IM PEDES ON HIS ABILITY TO PRO TECT HIS INTERESTSAND NO

     O TH ER PAR TY O N TH E PLA IN TIFF A N D/O R D EFEND M TS SID E R EPR ESEN TS

                                        TH AT IN TER EST

                  M r.Sm ith hasm adepoliticalphonecallsforHillary Clinton and theDefendants

    and raised money forindividually nam ed Defendants.M r.Sm ith hasalso donated the very little

    money hehasto Donald Trump andActBlue.Ifhiseflbrtswerem eaninglessbecauseof

    corporateand/orforeign influence then he dem andsarefund forhistim e,money and efforts.ln

    allhonesty,ifM r.Smith'sand othervotingpublic'sm oney hasbeenused asaway to

    ççsubsidize''cop orateinfluencethen we should bereimblzrsed.No otherparty even com esclose

    to sharing thisinterest.Putsim ply,there isnoparty tasked atprotecting theinterestofthe

    voting public,Iam thatentity and/orrepresentative.



                 M R.SM ITH'S CLAIM S AG AINST THE PLAINTIFFAND/O R THE

                                          D EFEN DA N TS

                  lfPlaintiffdid allow aforeign country to influencetheelection then clearly I

    would have aclaim forreimbursementofthe fundsIcontributed.Additionally,early in 2016 I

    wasfired from raising m oney forHillary Clinton afteradonorcomplained.Thiswould not

    havebeen donewithoutapprovalfrom the Hillary Clinton campaign.Additionally,itisclear

    thatifthe statem entoffactsistrue,thatotherDemocraticcom mitleespushed forHillary
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     Clinton to bethenomineeoverothercandidateswithoutthe consentofthedonors.



                                                 Conclusion


              Even ifm y motion wasa Pleading,sincethereareno clearly redundant,imm aterial,

     impertinentand scandalousmatters,n eSua Spontem otion should be reconsidered ortreated

     asa 12(b)(6)or12(e)M otionwhereMr.SmithherebyrequestsleavetoAmend/correct.


     W hereforePlaintif respectfullyrequeststhatthisHonorable Courtreconsideritsm otion to

     strike.Upon inform ation andbelief,Isubm itthatthe aboveistnle.


     /s/Jimmy Smith
     Pro Se

     66 FrenchAvenue

     Brockton,M A 02301

     (takenoticeofnew address)
                                y
                                .y
     Icertify thaton this28th day ofM ay 2022,Icaused acopy ofthewithin to be dockded

     and thereforeserved upon thepartieswith e-service.



     /s/Jim my Smith
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